                          Case 6:23-bk-04797-TPG                     Doc 1         Filed 11/14/23      Page 1 of 13

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Middle                     District of Florida
                                       (State)
 Case number (If known):                                Chapter 11
                                                                                                                          Check if this is an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                               06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor’s name                                SBG Burger Opco, LLC



 2. All other names debtor used
   in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX




 4. Debtor’s address                         Principal place of business                        Mailing address, if different from principal place
                                                                                                of business

                                             12540 W. Atlantic Boulevard
                                             Number     Street                                  Number      Street



                                                                                                P.O. Box

                                             Coral Springs                 Florida   33071
                                             City                          State     ZIP Code   City            State       ZIP Code

                                                                                                Location of principal assets, if different from
                                                                                                principal place of business

                                             Broward
                                             County
                                                                                                Number      Street




                                                                                                City            State        ZIP Code




 5. Debtor’s website (URL)                  https://starboardgroup.com/
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Debtor    SBG Burger Opco, LLC                                                  Case Number (if known) ___________________________



 6. Type of debtor
                                     ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     ☒ Partnership (excluding LLP)
                                     ☐ Other. Specify:

                                     A. Check one:
 7. Describe debtor’s business
                                     ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                     ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                     ☒ None of the above


                                     A. Check all that apply:

                                     ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                     ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                         § 80a-3)
                                     ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                     B. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         722513

 8. Under which chapter of the       Check one:
    Bankruptcy Code is the
                                     ☐ Chapter 7
    debtor filing?
                                     ☐ Chapter 9
                                     ☒ Chapter 11. Check all that apply:
                                                   ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                             4/01/25 and every 3 years after that).
                                                         ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.

                                                         ☐ A plan is being filed with this petition.
                                                         ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                     ☐ Chapter 12
 9. Were prior bankruptcy cases      ☒ No
    filed by or against the debtor
                                     ☐ Yes. District                                  When                      Case number
    within the last 8 years?
                                                                                               MM / DD / YYYY
    If more than 2 cases, attach a
                                              District                                When                      Case number
    separate list.
                                                                                               MM / DD / YYYY




 Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 2
                          Case 6:23-bk-04797-TPG                  Doc 1           Filed 11/14/23        Page 3 of 13

Debtor    SBG Burger Opco, LLC                                                Case Number (if known) ___________________________


                                      ☐ No
 10. Are any bankruptcy cases
    pending or being filed by a       ☒ Yes. Debtor See Schedule 1                                          Relationship
    business partner or an
                                               District                                                     When
    affiliate of the debtor?
                                                                                                                            MM / DD / YYYY
    List all cases. If more than 1,            Case number, if known
    attach a separate list.



 11. Why is the case filed in this    Check all that apply:
    district?
                                      ☒ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ☒ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have      ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                        Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                              ☐ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                              ☐ It needs to be physically secured or protected from the weather.
                                              ☐ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                              ☐ Other



                                               Where is the property?
                                                                           Number          Street




                                                                           City                                            State ZIP Code


                                               Is the property insured?
                                               ☐ No
                                               ☐ Yes. Insurance agency

                                                          Contact name

                                                          Phone




            Statistical and administrative information



 13. Debtor’s estimation of           Check one:
    available funds                   ☐ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                      ☒ 1-49                             ☐ 1,000-5,000                             ☐ 25,001-50,000
 14. Estimated number of              ☐ 50-99                            ☐ 5,001-10,000                            ☐ 50,001-100,000
    creditors
                                      ☐ 100-199                          ☐ 10,001-25,000                           ☐ More than 100,000
                                      ☐ 200-999

 Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
                      Case 6:23-bk-04797-TPG                            Doc 1      Filed 11/14/23                 Page 4 of 13



Debtor    SBG Burger Opco LLC                                                     Case Number (if known) _ _ _ _ _ _ _ _ __




 15. Estimated assets                     ~ $0-$50,000                       D $1,000,001-$ 10 million                    □ $500,000,001-$1 billion
                                          □ $50,001-$ 100,000                □ $10,000,001-$50 million                    □ $1 ,000,000,001-$10 billion
                                          □ $100,001-$500 ,000               □ $50,000,001-$100 million                   □ $10,000,000 ,001-$50 billion
                                          □ $500 ,001-$1 million             □ $100,000,001-$500 million                  D More than $50 billion

                                          ~ $0-$50,000                       □ $1 ,000,001-$10 million                    □ $500,000,001-$1 billion
 16. Estimated liabilities
                                          □ $50,001-$100 ,000                D $10,000,001-$50 million                    0 $1 ,000,000,001-$10 billion
                                          □ $100 ,001-$500,000               □ $50 ,000,001-$100 million                  □ $10,000 ,000,001-$50 billion
                                          □ $500,001-$1 million              □ $100,000,001-$500 million                  □ More than $50 billion




            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime . Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years , or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11 , United States Code, specified in this
     authorized representative of
                                              petition.
     debtor

                                              I have been authorized to file this petition on behalf of the debtor.


                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                          I declare nder penalty of perjury that the foregoing is true and correct.

                                                               11/13/2023
                                                               MM / DD / YYYY

                                          X                                                                 Andrew Levy
                                                                                                          Printed name


                                              Title Manager




 18. Signature of attorney
                                          X /s/ Scott A. Underwood                                         Date          11 / 14 / 2023
                                              Signature of attorney for debtor                                         MM     / DD /Y YYY

                                              Scott A. Underwood

                                              Printed name
                                              Underwood Murray, P.A.
                                              Firm name
                                              100 N Tampa, Ste. 2325
                                              Number           Street
                                              Tampa, FL 33602
                                              City     State      ZIP Code

                                              803-540-8401                                               sunderwood@underwoodmurray.com


                                              Contact phone                                              Email address


                                              Florida Bar No. 0730041                                        Florida

                                              Bar number                                                       State



  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page4
                            Case 6:23-bk-04797-TPG                        Doc 1        Filed 11/14/23              Page 5 of 13

  Debtor     SBG Burger Opco, LLC                                                     Case Number (if known) ___________________________




   Fill in this information to identify the case:

   United States Bankruptcy Court for the:


   Middle                     District of Florida
                                         (State)
   Case number (If known):                                   Chapter 11
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing




                                                                           Schedule 1

                         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
Bankruptcy Court for the Middle District of Florida for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of SBG Burger Opco, LLC.

10 S & M Foods, LLC
7 S & M Foods, LLC
9 S & M Foods, LLC
SBG Burger Opco, LLC
Starboard Group of Alabama, LLC
Starboard Group of Southeast Florida, LLC
Starboard Group of Space Coast, LLC
Starboard Group of Tampa II, LLC
Starboard Group of Tampa, LLC
Starboard with Cheese, LLC




   Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                           page 5
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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION




    In re:                                                      Chapter 11

    SBG Burger Opco, LLC                                        Case No. 8:23-bk-_____

                            Debtor.



                              LIST OF EQUITY SECURITY HOLDERS1

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is
a list of holders of equity securities of the above-captioned debtor.


    Equity Holder                       Address of Equity Holder     Percentage of Equity Held
    Starboard Group Holdings,           12540 W. Atlantic Boulevard,           99.9%
    LLC                                 Coral Springs, Florida 33071
    Starboard Group                     12540 W. Atlantic Boulevard,           00.1%
    Administrative Services, LLC        Coral Springs, Florida 33071




1
 This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
commencement of the chapter 11 case.
           Case 6:23-bk-04797-TPG         Doc 1    Filed 11/14/23     Page 7 of 13




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION




 In re:                                             Chapter 11

 SBG Burger Opco, LLC                               Case No. 8:23-bk-_____

                       Debtor.



                        CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.



 Shareholder                              Approximate Percentage of Shares Held
 Starboard Group Holdings, LLC                            99.9%
 Starboard Group Administrative Services,                 00.1%
 LLC
                                    Case 6:23-bk-04797-TPG                       Doc 1           Filed 11/14/23          Page 8 of 13


          Fill in this information to identify the case:

          Debtor name    SBG Burger Opco, LLC, et al.
          United States Bankruptcy Court for the: Middle                      District of Florida

          Case number (If known):
                                                                                       (State)
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
`


        Official Form 204
        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
        Unsecured Claims and Are Not Insiders                                                                                                                      12/15

        A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
        disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
        secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
        largest unsecured claims.


         Name of creditor and complete           Name, telephone number,           Nature of the    Indicate if   Amount of unsecured claim
         mailing address, including zip          and email address of creditor     claim (for       claim is      If the claim is fully unsecured, fill in only unsecured claim
         code                                    contact                           example, trade   contingent, amount. If claim is partially secured, fill in total claim
                                                                                   debts, bank      unliquidated, amount and deduction for value of collateral or setoff to
                                                                                   loans,           or disputed calculate unsecured claim.
                                                                                   professional
                                                                                   services, and
                                                                                                                       Total claim, if     Deduction for          Unsecured
                                                                                                                         partially            value of              claim
                                                                                                                         secured            collateral or
                                                                                                                                               setoff
        SYGMA NETWORK                          JIM PROCUNIAR, PRESIDENT           Food Vendor                                                                   $617,890.01
    1   5550 BLAZER PARKWAY                    P: 877-441-1144
        DUBLIN, OH 43017                       F:




        WENDY'S INTERNATIONAL, LLC.            E.J. WUNSCH, CHIEF LEGAL           Franchise                                                                     $425,205.31
    2   ROYALTIES                              OFFICER                            Royalties
        ONE DAVE THOMAS BLVD                   P:
        DUBLIN, OH 43017                       F:
                                               corporate-secretary@wendys.com


        WENDYS NATIONAL ADVERTISING            E.J. WUNSCH, CHIEF LEGAL           Franchisor                                                                    $381,199.86
    3   WNAP                                   OFFICER                            Advertising
        ONE DAVE THOMAS BLVD                   P:                                 Charges
        DUBLIN, OH 43017                       F:
                                               corporate-secretary@wendys.com


        WENDY'S INTERNATIONAL, LLC.            E.J. WUNSCH, CHIEF LEGAL           Trade Vendor                                                                  $365,595.19
    4   ONE DAVE THOMAS BLVD                   OFFICER
        DUBLIN, OH 43017                       P:
                                               F:
                                               corporate-secretary@wendys.com


        BECKER & POLIAKOFF                     JON POLENBERG                      Legal                                                                         $354,711.40
    5   1 EAST BROWARD BLVD                    P: 954-987-7550
        FORT LAUDERDALE, FL 33301              F: 54-985-4176
                                               jpolenberg@beckerlawyers.com



        UNITED HEALTHCARE INSURANCE            RUPERT BONDY, CHIEF LEGAL          Insurance                                                                     $304,247.87
    6   COMPANY                                OFFICER
        9900 BREN RD E                         P: 952-936-1645
        MINNETONKA, MN 55343                   F:



        SHUTTS & BOWEN LLP                     MARY RUTH HOUSTON                  Legal                                                                         $264,515.40
    7   300 SOUTH ORANGE AVENUE, SUITE         P: 407-423-3200
        1600                                   F: 407-425-8316
        ORLANDO, FL 32801                      mhouston@shutts.com
                              Case 6:23-bk-04797-TPG                     Doc 1         Filed 11/14/23             Page 9 of 13
Debtor: SBG Burger Opco, LLC, et al.                                                       Case number (if known): ______________


      Name of creditor and complete      Name, telephone number,          Nature of the      Indicate if   Amount of unsecured claim
      mailing address, including zip     and email address of creditor    claim (for         claim is      If the claim is fully unsecured, fill in only unsecured claim
      code                               contact                          example, trade     contingent, amount. If claim is partially secured, fill in total claim
                                                                          debts, bank        unliquidated, amount and deduction for value of collateral or setoff to
                                                                          loans,             or disputed calculate unsecured claim.
                                                                          professional
                                                                          services, and
                                                                                                              Total claim, if        Deduction       Unsecured claim
                                                                                                             partially secured      for value of
                                                                                                                                    collateral or
                                                                                                                                       setoff

     BERKOWITZ POLLACK BRANT            RICHARD POLLACK                   Consulting                                                                     $258,072.41
 8   ADVISORS AND ACCOUNTANTS           P: 305-379-7000
     200 S. BISCAYNE BLVD., 7TH AND 8TH F: 305-379-8200
     FLOORS                             rpollack@bpbcpa.com
     MIAMI, FL 33131


     SYNERGI PARTNERS, INC.             ASHLEY HOGSETTE, CHIEF            Vendor                                                                         $249,966.88
 9   151 W. EVANS ST.                   LEGAL OFFICER                     Commissions
     FLORENCE, SC 29501                 P: 843-519-0808
                                        F:
                                        ahogsette@synergipartners.com


    JACKSON LEWIS LLP                STEPHANIE L. ADLER-PAINDIRIS         Legal                                                                          $191,625.17
 10 390 N. ORANGE AVENUE, SUITE 1285 P: 407-246-8409
    ORLANDO, FL 32801                F: 407-246-8441
                                     stephanie.adler-
                                     paindiris@jacksonlewis.com


    HILLSBOROUGH COUNTY TAX             NANCY C. MILLAN, TAX              Tax                                                                            $147,082.44
 11 COLLECTOR                           COLLECTOR
    2506 N. FALKENBURG ROAD             P: 813-635-5200
    TAMPA, FL 33619                     F:
                                        millan@hillstax.org


    BREVARD COUNTY TAX COLLECTOR LISA CULLEN                         Tax                                                                                 $144,906.44
 12 400 SOUTH STREET, 6TH FLOOR  P: 321-264-6969
    TITUSVILLE, FL 32780         F: 321-264-5149
                                 lisa.cullen@brevardtaxcollector.com



    SOUTHEASTERN FOOD                   JIM ACOMB, GENERAL MANAGER Trade Vendor                                                                          $131,480.74
 13 MERCHANDISERS, LP                   P: 205-664-3322
    201 PARKER DRIVE                    F: 205-664-3321
    PELHAM, AL 35124



    MCS COMMERCIAL, LLC                 ANDREW NOLAN, PRESIDENT           Landscaping and                                                                $124,042.84
 14 350 HIGHLAND DR STE 100             P: 813-387-1100                   Plowing
    LEWISVILLE, TX 75067                F:
                                        andrew.nolan@mcs360.com



    AYDELOTT EQUIPMENT, INC.            HERB AYDELOTT                     Trade Vendor                                                                   $114,070.96
 15 119 COMPARK ROAD                    P: 937-435-8220
    CENTERVILLE, OH 45459               F: 937-435-1885
                                        herb@aydelott.com



    LOOMIS ARMORED US, LLC.             BJÖRN ZÜGE, PRESIDENT AND         Bank and Safe                                                                  $105,810.79
 16 2500 CITYWEST BLVD SUITE 2300       CEO                               Supplier
    HOUSTON, TX 77042                   P: 877-877-0560
                                        F:



    NCR CORPORATION                     KELLI STERRETT, GENERAL           Point of Sales                                                                  $96,411.00
 17 864 SPRING STREET NW                COUNSEL                           Support
    ATLANTA, GA 30308                   P:
                                        F: 937-445-1936
                                        kelli.sterrett@ncr.com




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 2
                            Case 6:23-bk-04797-TPG                  Doc 1         Filed 11/14/23             Page 10 of 13
Debtor: SBG Burger Opco, LLC, et al.                                                   Case number (if known): ______________

     Name of creditor and complete      Name, telephone number,         Nature of the    Indicate if   Amount of unsecured claim
     mailing address, including zip     and email address of creditor   claim (for       claim is      If the claim is fully unsecured, fill in only unsecured claim
     code                               contact                         example, trade   contingent, amount. If claim is partially secured, fill in total claim
                                                                        debts, bank      unliquidated, amount and deduction for value of collateral or setoff to
                                                                        loans,           or disputed calculate unsecured claim.
                                                                        professional
                                                                        services, and
                                                                                                          Total claim, if        Deduction       Unsecured claim
                                                                                                         partially secured      for value of
                                                                                                                                collateral or
                                                                                                                                   setoff

    DAVE THOMAS FOUNDATION FOR         MELINDA HAGGERTY, GENERAL        Charity                                                                       $94,792.32
 18 ADOPTION                           COUNSEL
    4900 TUTTLE CROSSING BLVD          P: 614-764-8441
    DUBLIN, OH 43016                   F:
                                       info@davethomasfoundation.org


    LIFE SAFETY ENGINEERED             ANGEL VEZINA, CEO                Trade Vendor                                                                  $94,099.49
 19 SYSTEMS, INC                       P: 800-263-1116
    60 SONWIL DRIVE                    F: 716-656-1511
    BUFFALO, NY 14225



    BP ENVIRONMENTAL SERVICES, INC. LOU PELLEGRINO, CEO                 Waste                                                                         $92,998.74
 20 100 HIGHPOINT DRIVE             P: 267-308-0123                     Management
    CHALFONT, PA 18914              F:                                  Services
                                    info@workwithbp.com




   Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 3
                               Case 6:23-bk-04797-TPG                             Doc 1            Filed 11/14/23           Page 11 of 13


 Fill in this information to identify the case:

 Debtor name: SBG Burger Opco, LLC

 United States Bankruptcy Court for the: Middle District of Florida
                                                                                                                                                       Check if this is an
 Case number: 23-XXXXX
                                                                                                                                                   D   amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of
assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING·· Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571 .


  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


  0 Schedule A/ 8: Assets-Real and Personal Property (Officia l Form 206A/B)
  0 Schedule D: Creditors Who Have Claims Secured by Property(O ffi cia l Form 206D)
  D Schedule E/ F: Creditors Who Have Unsecured Claims (Official Form 206E/ F)
  0 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
  D Schedule H: Codebtors (Officia l Form 206H)
  0 Summary of Assets and Liabilities for Non-Individuals (Offici al Form 206Sum)
  0 Amended Schedule
   ~ Chapter 71 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claim s and Are Not Insiders (Officia l Form 204)
   ~ Other document that requires a               Li st of Equity Security Holders and Corporate
                                                  Ownership Statement
  declaration

I decla re under pena lty of perjury that the foregoing is true and correct.

 11/13/2023
Executed on                                                                                  Signature of individual signing on behalf of debtor
                                                                                             Andrew Levy

                                                                                             Printed name
                                                                                             Manager
                                                                                             Position or relationship to debtor
      Case 6:23-bk-04797-TPG             Doc 1      Filed 11/14/23      Page 12 of 13



                               SBG BURGER OPCO, LLC
                            UNANIMOUS WRITTEN CONSENT

       The undersigned manager (the "Manager") and members ("Members") of SBG
Burger Opco, LLC, a Florida limited liability company (the "Company") do hereby waive all
formal requirements, including the necessity of holding a formal or informal meeting, and any
requirements for notice, and does hereby consent in writing, notwithstanding any other
agreement or understanding (written or verbal) to the contrary, to the adoption of the following
Resolutions and taking of the following actions under Florida Statute Section 605.04073 and
Sections 12 and 13 of the Company ' s operating agreement in lieu of a meeting.

       WHEREAS, the Company is a duly formed , validly existing limited liability company
in good standing under the laws of the State of Florida;

        WHEREAS, the Manager and Members have considered presentations by consultants,
legal advisors and/or professionals of the Company regarding the liabilities and liquidity
situation of the Company, the status of any pending litigation, the strategic alternatives
available to it, and the effect of the foregoing on the Company's business;

       WHEREAS, the Manager and Members have had the opportunity to consult with
consultants, legal advisors and/or professionals to specifically assess the considerations related
to the commencement of chapter 11 cases under title 11 of the United States Code (the
"Bankruptcy Code");

         WHEREAS, in light of the Company ' s current financial condition and pending
litigation, the Manager and Members, after investigating, discussing and considering options
for addressing the Company ' s financial challenges and, after consultation with the Company' s
advisors, have concluded that it is in the best interests of the Company, its creditors, and other
interested parties that a petition be filed by the Company seeking relief under the provisions of
the Bankruptcy Code; and

       WHEREAS, this Unanimous Written Consent has been duly executed by each and
every Manager and Member of the Company.

        NOW THEREFORE be it

        RESOLVED, that in the judgment of the Manager and Members of the Company, it is
desirable and in the best interests of the Company and its respective creditors, and other
interested parties that a petition be filed by the Company seeking relief under the Bankruptcy
Code;

        RESOLVED, that the Manager of the Company is hereby authorized, empowered and
directed, in the name and on behalf of the Company, to execute and verify a petition under
chapter 11 of the Bankruptcy Code and to cause the same to be filed in the United States
Bankruptcy Court, Middle District of Florida, Orlando Division (the "Bankruptcy Court"), at
such time as said Manager shall detennine in consultation with the Company ' s advisors;

        RESOLVED, that the Manager may employ the law firm of Underwood Murray, P.A.
as attorneys for the Company in the chapter 11 case, subject to Bankruptcy Court approval;
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        RESOL YEO, that the Manager is hereby authorized, empowered and directed to
execute and file all petitions, schedules, motions, lists, applications, pleadings and other papers
and, in that connection, to employ and retain all assistance by legal counsel, accountants,
financial and real estate advisors, liquidators and other professionals, and to take and perform
any and all further acts and deeds deemed necessary, proper or desirable in connection with the
successful prosecution of the chapter 11 case;

        RESOLVED, that the Company hereby authorizes the receipt of an advance fee deposit
by Underwood Murray, P.A. from SBG Burger Opco, LLC and Starboard Group Holdings,
LLC, and, ratifies any contribution or loan between the entities; and, furthermore the Company
authorizes the use of those funds held as an advance fee deposit by Underwood Murray, P.A.
to be utilized as an advanced fee deposit as necessary, including to draw down upon such funds
prior to filing a bankruptcy case for Company, to pay Company' s proportionate share of costs,
expenses and fees incurred ;

        RESOL YEO, that all acts, actions, and transactions relating to the filing of a bankruptcy
petition under chapter 11 of title 11 of the Bankruptcy Code contemplated by the foregoing
resolutions done in the name of and on behalf of the Company which acts would have been
approved by the foregoing resolutions except that such acts were taken before the adoption of
these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
the Company with the same force and effect as if each such act, transaction, agreement, or
certificate has been specifically authorized in advance by resolution of the Manager and
Members; and,

        RESOL YEO, that the Manager be and hereby is authorized and empowered to take all
actions or to not take any action in the name of the Company with respect to the transactions
contemplated by these resolutions hereunder, as the Manager shall deem necessary or desirable
in its reasonable business judgment as may be necessary or convenient to effectuate the
purposes of the transactions contemplated herein.

       IN WITNESS WHEREOF, the undersigned has hereunto set his hand and seal for the
purposes herein expressed.

                ROPCO,LLC
               ted liability company;




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By:__.:~~~~~~~'.\...-                   ~ ~ ~- - - - - -
Print Name: Starboard Grou                       LLC
Its: Member

Dated:     Lt ( 1'-/ /7,., J




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